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 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     TODD ALLEN SMITH
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-10-191 JAM
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE STATUS
10                                       )                CONFERENCE AND EXCLUDE TIME
           v.                            )                UNDER SPEEDY TRIAL ACT
11                                       )
     TODD ALLEN SMITH,         et al.,   )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Jeremiah Martin,
15   Darrin Johnston, Todd Smith, and Cheryl Peterson, by and through their undersigned defense
16   counsel, and the United States of America by and through its counsel, Assistant U.S. Attorney
17   Matthew Stegman, that the status conference presently set for September 14, 2010 at 9:30 a.m.,
18   should be continued to November 16, 2010 at 9:30 a.m., and that time under the Speedy Trial Act
19   should be excluded from September 14, 2010 through November 16, 2010.
20          The reason for the continuance is that the defendants are continuing their investigation and
21   preparation of the matter for trial. There is substantial discovery and the issues are complicated.
22   Accordingly, the time between September 14, 2010 and November 16, 2010 should be excluded
23   from the Speedy Trial calculation pursuant to Title 18, United States Code, Section
24   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
25   of justice served by granting this continuance outweigh the best interests of the public and the
26   defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Stegman and the undersigned defense
27   counsel have authorized Mr. Locke to sign this pleading for them.
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29                                                   1
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 2
 3   DATED: September 9, 2010                 /S/ Bruce Locke
                                        BRUCE LOCKE
 4                                      Attorney for Todd Smith
 5
     DATED: September 9, 2010                 /S/ Bruce Locke
 6                                      For PATRICK HANLEY
                                        Attorney for Darrin Johnston
 7
 8   DATED: September 9, 2010                 /S/ Bruce Locke
                                        For COURTNEY LINN
 9                                      Attorney for Jeremiah Martin
10
11   DATED: September 9, 2010                 /S/ Bruce Locke
                                        For DOUGLAS BEEVERS
12                                      Attorney for Cheryl Peterson
13
     DATED: September 9, 2010              /S/ Bruce Locke
14                                      For MATT STEGMAN
                                        Attorney for the United States
15
16
           IT IS SO ORDERED.
17
18
19   DATED: 9/10/10                     /s/ John A. Mendez
                                        UNITED STATES DISTRICT JUDGE
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